EXHIBIT 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION

NANCY A. MCCLURE-SOTO, §
Plaintiff §
§

v. § NO. 5:21-CV-00660 -JKP-HJB
§
BEXAR COUNTY, TEXAS, §
Defendant §

AFFIDAVIT OF VERONICA GUEVARA

THE STATE OF TEXAS §
COUNTY OF BEXAR §

BEFORE ME, the undersigned authority, on this date personally appeared VERONICA
GUEVARA, who, after being duly sworn, deposed as follows:

“My name is Veronica Guevara, and | am over the age of eighteen (18) and of sound mind,
and fully capable of making this affidavit, [am the Risk Management & Compliance Director for
Bexar County. | have been employed by Bexar County since May of 2017, I was initially hired
as Bexar County’s Risk Management Coordinator. Prior to my employment with Bexar County, |
worked in the fields of risk management and/or claims handling for over 35 years. In prior
positions, and as Risk Management Coordinator for Bexar County, | had supervisory
responsibilities over employees who directly reported to me. Based upon my position with Bexar
County, and my personal experiences and/or observations of Nancy McClure-Soto (“Nancy”),
Tina Smith-Dean (“Tina”) and employees in the Budget and Finance Department, from May of
2017 until Nancy resigned in lieu of termination, I have personal knowledge of the facts stated
herein and they are true and correct.

“In December of 2019, Tina Smith-Dean, Assistant County Manager, stated to me that
because there had been a complaint against her, Nancy was now assigned to report to me, until the
investigation was concluded. Tina did not offer any further information, to include any description
about the complaint. Likewise, during the course of my supervision of Nancy, Tina did not
question me about Nancy, nor did she suggest or direct me to take any action with regard to Nancy.
The reassignment of Nancy to be under my supervision was the only change that occurred with
regard to her employment. She remained in the same position, same title, same rank, same pay
and benefits, and same work station,

“Just a short time after I assumed supervisory responsibilities for Nancy, she began to have
inappropriate communications with Bexar County employees, vendors and County
Commissioners about perceived stights, and/or changes in policies. Nancy should have first sought

resolution about these concerns with me, as her supervisor. While she did direct some emails to
me, she also copied those emails to other employees and elected or appointed officials at the same
time. The tone of these emails was argumentative and not conducive to good relationships and
communication in the workplace. One example included multiple emails about restroom breaks
and requesting clarification from the County Manager and/or the District Attorney regarding the
County’s policy is on “asking permission before being allowed to go to the restroom.” In an effort
to redirect the nature and tenor of Nancy’s communications, I sought the counsel of the Human
Resources Dept. and I presented a Notice of Disciplinary Action — Written Reprimand to Nancy
on February 7, 2020 citing her email communications as constituting “conduct which is
detrimental to or has an adverse effect to the office or department.” In that Reprimand, | reminded
Nancy that while her complaint was being investigated, she had the right to be free of unlawful
behavior or retaliation, but that she was still under the obligation to follow Bexar County policies,
including following her chain of command, and not engaging in inappropriate communications.
A true and correct copy of those emails, and the Notice of Disciplinary Action — Written
Reprimand are attached hereto as Exhibit A.

“The only time that I received any further contact from Tina about Nancy, was when Tina
forwarded complaints in February, 2020, that she had received from employees in the Budget and
Finance Department that Nancy had disrupted the work environment with conduct that they found
oppressive and intimidating, including videotaping or photographing them. Tina did not suggest
or instruct me how to handle those complaints — she merely forwarded them to me.

“I then reached out again to the attorneys in the Bexar County District Attorney’s Office,
Civil Division for guidance with regard to investigating those complaints, and the appropriate
action to be taken while that investigation was ongoing. Based upon the initial statements received,
and what I observed on a daily basis in that department, my perception was that the employces felt
bullied and intimidated by Nancy. I was also concerned, given the fact that she had just 19 days
earlier received a Reprimand, that Nancy’s behavior was becoming more aggressive and
inappropriate. My goal or hope as a supervisor is that the issuance of a Reprimand, causes the
employee to look at the problem and take a step back to find the right track forward. This did not
occur with Nancy.

“In discussions with ADA Kristin Bloodworth, the determination was made that the work
environment was so unsettling that Nancy could not remain in the workplace during the
investigation into her alleged conduct on February 26, 2020. With the guidance of ADA
Bloodworth, Nancy was placed on Investigative Administrative Leave for 30 days. She received
full pay and benefits during this time. A true and correct copy of that Notice of Investigative
Administrative Leave signed by Nancy is attached hereto as Exhibit B.

“Ordinarily this investigation would have been concluded in 30 days or sooner, Covid 19
shut the world down, Many Bexat County employees began working from home, and much had
to be purchased, reconfigured etc. to allow that to happen. Accordingly, the investigation was not
able to be concluded within 30 days. Therefore Nancy was instructed to begin working from home
at the end of her 30 day leave.

“The investigation was conducted by the Human Resources Dept. 1 did not participate in

that investigation. I was provided a copy of the findings of that investigation. All ofthe employees
interviewed described the work environment as uncomfortable, intimidating and/or stressful due
to Nancy’s behavior and confrontation with colleagues. Human Resources examined the video
recording of the work space on February 26, 2020, and determined that despite Nancy’s denial that
she had videotaped or photographed her fellow employees, she appeared to be videotaping them
as they were arriving and departing the office that morning. Further, she appeared to be utilizing
another employee’s desktop to interface with Nancy’s phone with regard to those images.

“After consultation with Human Resources and attorneys in the Bexar County District
Attorney’s Office, Civil Division, the recommendation was made that Nancy be terminated. | had
no discussion with Tina, nor did I receive any suggestion or direction from Tina, as to what actions
should be taken with regard to Nancy as a result of this investigation. Nancy was still working
from home, as were most Bexar County office employees. I scheduled a meeting with her on June
9, 2020 and advised her that a recommendation had been made for her termination. Nancy was
advised that she had the right to reply to this proposed action within ten (10) days from June 9,
2020,

“On June 22, 2020, I received a notice from Nancy that she was retiring her position
effective that date. On June 22, 2020, I prepared and sent Nancy an acknowledgement of my
receipt of same. A true and correct copy of these documents are attached thereto as Exhibit C.

“Purther Affiant sayeth not.”

SIGNED this the /s¢ dayof_ Decesnrhey _, 2023.

fe Zo

VERONICA GUEVARA

aye
Sworn to and subscribed before me on this the _ | ’ day of \Decert Ler , 2023.

a Pee, CHRISTINA MENDOZA Ci mf
& ‘a, Notary Publle, State of Texas P

AC Mycroft NOTARY PUBLIC IN AND FOR
“Rae” NOTAR .
a eeeeeewereerrk THE STATE OF TEXAS

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EXHIBIT A

( (

Notice of Diselplinary Action — Written Reprimand

Date: Friday, February 07, 2020

To: Narioy MaClure-Soto, Administrative Services Coordinator
From Veronica Guevara, Risk Management Coordinator

Rea: Notice of Disciplinary Action, Wrlilen Reprimand

Under the provision of Bexar County Civil Servica Commission Rules and Regulations, Polley 7,6,10 Disclplinary Actions, you are

hereby adviged that this is a Wrltton Repimiand. The Wiltlen Reprimand ls beng dellvered to you for the following vialations-of the
pdlley;

{. Conductwwhich Is datrimental {o or has an adverse effect on the office or department:

The specific reasons for this actlon:

{nthe past several days, you have sent a number of langthy emails to varlous public officlals throughout Bexar Counly documenting
behaviors you believe to be retallatory. You have directly contacted other Executive Direotors withii Bexar Counly and iniilatad
inappropriate communications. challenging ‘the performance of their assimed dulles, Specifically, you engaged ihe Faallltias
Management Exevutlve Director over the control and direction of facility and matntenance Issues within cortaln facilites ln Boxar County
In an hisubardinata manner (for example,-cohimunteatlng In “all caps"), On Friday, January 31, 2020 at Ipm, you sent an emall fo me

(attached) with a carbon copy to David Sinith, the County Managet, Joa Gonzales, the Distrot Attorney, and two Commissioners, Tommy
Calvert and dustli Rodilguez,

instead of being respectful antl giving me the courtesy of discussing your concems directly with me a8 your supervisor, You Instead sent
your complaits offfco-wide; Those concerns shoul! Have bean communtaated directly (0 me.80 that | might have the opportunity to
address them with you diredtly;. Thereafter, If you felt that your concams wore not addressed, you could bring them fo the attention of
sentor management as nedessary, Addillonally, you have allegad that | am retallating-agalnst you for the ilist time in an email for
something though | ani not awate of anything | have done fo you which would constlute retaliation, You spent a considerable amount
of work Ime to write the attached emalts which contatn laaccurate Information. On Friday, January 34, 2020, [ sent you an email to offet
assistance without any pretext or motive, You then took my offer of assistance and disingenuously describe It as retallation without any

support, This type of behavior negatively Impacts your ablllty to productively Interact with othar employees and strains the work
envivonment,

| would remind you that you have bean temporarily placed under my supervision as a resull of complaints you previously made against
your supervisor, You were placed under my supervision durlng the pendency’ of the workplace Investigation which Is currenily sill
angolrig: Bexar County takes ali employee complaints seriously and we pronioté a workplace whieh Is free'from unlawiul behavior and
any form ef relallation. As 4 complainant, You have the right {6 be free frém unlawful beliavloy and retaliation, However, you may riot
engage In Inappropriate communications with your superiors or other Bexar County employeas. The-attached ethalls reflect a less than
profésslonal approach to interactions with other Bexar County colleagues and are not indicative of the iypes of communications that
promote cooperation and Interotfice harmony... In the future, If you have a concem regarding. your employment, please permit ma the
opportunity to address {t with you directly prior to sending out mass emalls to individuais who are.not within your supervisdry chaltt,

This writlen-+teprimand 6

A HAL
Adiniyistrative

annot be appealed but you have the raht to “Ae. this lsclpiinary action In writing to me-in 10 days.
v
YER.

./ TIN) YI 20

“Veronica Guevara Date
‘Coordinater Risk Mafagement Coordinator -

ce! Bexar County Clvil Service Commission

en: Email 04/31/2020, 1:00pm, from Nancy Soto, to Veronica Guevara, co; David Smith, Jusiin Rodriguez, Tommy Calvert, Jos:
Gonzales

CED adn pola ray “led ia | / 1/20 «

Zt peel this. fs andthe , Are

é
f 110
retaliation Tyna/ dee) al 7/00

BC 000065 ye

Guevara, Veronica

Fram: McCabe, Seth

Sent Friday, January 31, 2026 1:06 PM

To; Guevara, Veronica

Subject: FW! oth Floor-PET-Frant Desk Coverage 07/31/20
Attachments: Front Desk Coverage

Importance; High

Since you are referenced,

ene etree Ebene oe ee De pe a eR ped abe feed eR MR at rg ee Ryan tent: em

From: Soto, Nancy <_iiiaaie.,
Sent: Friday, January 31, 2020 12:02 PM

Tor McCabe, Seth <smecahe@bexar.org>
Cer Sralthh, David Bi Rodriguez, Justin alvert, Fonimy
<te@bexar.arg>; Millan, Alexandyla RCE Gonzales, Joc 0, Cea

Subject: 9th FlooiPET-Front Desk Coverage 01/31/20
importance: High

Seth McCabe,

As you know, Iam covering the 9" floor front desk today, Friday, January 31, 2020, My Office
Assistant Olivia Espinosa |s out sick, It has been common practice since wa moved Into this
building, to ask one of my coworkers to “listen” or “cover” the front desk area when I need to
run across the hall to use the restroom. To my khowledge, this has not changed. This morning
around 10:30 am, I asked my coworker, Alexandria Millan, to cover for me so Tf could run
across the hall. 1 was not gone more than 3-4 minutes. I was just informed, by Alexandia
Millan, that after she returned to her office, she was approached by you, She sald you told

her “you do not need to sit up at the front because you do not report to Nancy”, She sald she
informed you that she was only watching the desk so I could go to the restroom,

Yesterday, January 30, 2020, T was In a meeting, At 12:00, my Office Assistant, Olivia Espinosa,
wanted to go to lunch. She told me she was approached by Veronica Guevara and by Tina
Smith-Dean, who both offered to sit at the desk and cover for her until I got out of my meeting.
When I came out of my meeting at 12:06, Tina Smith-Dean, Assistant County Manager, was
sitting at the front desk providing coverage for Olivia Espinosa, I hardly think providing coverage
for the front desk rises to the level of the Assistant County Manager, but elther way, coverage
was provided,

Subsequently, J recalved the attached amatl from Veronica Guevara, my temporarily

assigned supervisor. For the first time ever, she Is offering me coverage for the front desk
aven though she Is ina meeting until 2:00 pm today. She also stated that J would need to
notify the supervisor prior to asking for coverage for the front desk, which would naturally
include restroom breaks. Since you are the supervisor of everyone on this floor, except me
and Paarl Jauregul , are you suggesting that I should be asking your permission each tlme I
need to yo to the restroom? Is there a policy I am unaware of that employees need to request
permission to go to the restroom, or dogs this only apply to me?

BC 000066

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( (
I have been covering the 9% floor front desk since we moved Into this building. I routinely skip
my lunches or eat at the front desk in order to avold asking anyone for coverage. Everyone in

this department, Including Veronica Guevara, Tina Smith-Dean, and you, Seth McCabe, are
aware of that and have never offered my any type of assistance or coverage.

it Is quite unbellevable I am being forced to send out an email for such a petty issue but, since J
am belng presented with another form of retaliation, Lam obligated to document it.

Clearly, this Is simply another petty form of retallation since I sent out an emall to Tina
Smith-Deanh on December 5, 2019, Although Tina Smith-Dean stated that * the concerns
exprassed In your emall are taken serlously and will nat negatively Impact your job or the
relationships within our work environment”, as expected, her response has proven to be:
false, At this point, I can’t help but wonder when one of the stakeholders, which are being

capled on my numerous emails, ts finally going to step In and put a stop to this constant
retafiation and discrimination.

I would appreciate clarification from County Manager, Mr. David Smith and/or District Attorney, ,
Mr. Joe Gonzales, to {et me know exactly what the County's Policy Is on asking permission
before being allowed to use the restroom.

cc, EEOC/Continued Retallation/Biscrlmination

Nancy A, Sate
Adrotristrative Coordinator

GE
fae

BC 000067

Guevara, Veronica

From} Soto, Nancy

Sent: Friday, January 31, 2020 1:00 PM

Ta: Guevara, Veronica

Cu Smith, David; Rodriguez, Justin; Calvert, Tommy; Gonzales, Joe D,
Subject: Front Desk Coverage-01-31-20 #2

Good afternoon Veronica,

it 1s 12:20 pm and 1am sitting at the front desk eating my lunch as | do every time my Office Assistant Is out for the

day. i find It quite odd that you would, out of the blue, offer to provide me your assistance with coverage since you have
seen tne repeatedly eat lunch at the frorit desk since you began working In thls department. | do find it quite
coincidental however; that your email colncldes with a conversation Seth McCabe Just had with Alexandria Millan
concerning her watching the front desk while f ran to the restroom, In his conversation with Alexandria, he stated “ you

do not need to sit at the front desk, you do not report to Nancy”: Even though she was only covering, so | could go to
the restroom,

jam certain you are aware of this hecause | have asked almost everyone {n this department, at one time or another, to
“ever while | step across the hall”. You may have even covered for me once or twice, It Is commen practice and | arn
certain that Ollvla Esparza, has done the same when | am out of the office, She has never mentioned to me that you

‘or anyone-has brought it to her attentlon that she should be asking a supervisor before doing so, As women,
sometimes, there simply és not enough thie to request permission before using the restroam,

Clearly, you are aware of the Issues which are taking place in this office concerning myself and Assistant County
Manager, Tina Smith-Dean, ttis the very reason you were directed to be my temporary supervisor. Your direction to me
to “make sure the supervisor Is notified as a courtesy", would of course include restroom breaks, This would mean |
would be required to contact Mr, Seth McCabe each time | need to use the restroom since everyone on the 9" floor
reports directly to Seth, except me and Pearl. Unless, there |s a county policy | am unaware of, this clearly Is a violation

of triy tyhts as there is not a single other person, In particular, any woman, In this department which {s required to do
that,

| should note that It ls now 42:53, You, along with your guests, had lunch delivered and have had an opportunity ta aat
your lunch in the conference room. You have passed by me on two (2) occasions while | am eating my iunch at the front
desk and not offered to sit here and provide any sort of coverage.

This ts simply another form of retallation, belng directed at me, since | sant out an email to Assistant County Manager,
Tha M. Smith-Dean, As such, | feel compelled to document it for the Investigation which fs currently taking place and
copy all stakeholders on this emall.

Respectfully,

Nancy A, Soto
Administrative Coordinator

BC 000068

( (

cc, EEOC/Retallation/Diserlmination

ae a ae ee

From: Guevara, Veron|cis gc
‘Sent: Friday, January 81, 2020 Ai 108 aM

To: Soto, Narcy SggRREaeeeeeeeaeaieemaatites
'‘Subjant: Front Desk Coverage

Good morning, Nancy:

| noticed that Olivia fs not In today. If you heed help covering the frant desk by folks on the floor, please iet me know ar

make sure his/her supervisor is hotlfled or asked as 4 courtesy, I'm tled up until about 2 pm but am happy to cever up
front as well,

Thank you,
Veronica Guevara

Bexar County
Risk Management Coordinator

BC 000069

oe
ae,

Guevara, Veronica

From: Soto, Nancy

Sent Monday, January 27, 2020 12:36 PM

To Curry, Dan

Cc: Smith, David: Guevara, Veronica; Torralva, Jose; Ramirez, Hector; Rodriguez, Justin;
Calvert, Tommy; Caballero, Francesca; Putney, Amy

Sublact: and Responsa- Resource Management Facility Needs

Importance; High

Good afiernoan Dan,

My Immediate supervisor, af this time, is Veronica Guevara. | have copied her on this email. As]
mentioned in my email below, our Interna! office process is to have all Facllity related issues funneled
through our Administrative Team, of which | am responsible for. To my knowledge, this has not
changed, Again, we are not adding any additlonal tevel of bureaucracy to your operation, Our

internal process has never created any issues in the scheduling of any services, in fact, it has out
down on the number of people directly involved.

Up unt your email, which [ received on Friday, January 24, 2020, this has NEVER been an Issue or
even questioned. As you know, | have worked directly with the Facilities Staff for years and years, |
am oxtramely confused as to why this would be an Issue for you at this time as | have also worked
directly with you Dan. Most recently on the renovations of the current County Gym Facility where |
was directed by Tina Smith-Dean to meet regularly with you and your staff regarding the renovations
which needed fo be done prior to the opening. | have also worked directly with you to coordinate the
yearly Employee Health Fair. This sudden concern about the way we have been operating Internally
for so many years ts quite perplexing.

| would be happy to meet and discuss any Issues which your department is having concerming our
internal process as | am totally unaware of anything that has changed which has hindered your staff
from conducting their work within our department,

Tina Smith-Dean would normally be the Individual to make this type of major change concerning one
of our internal policies and to one of my long standing job responsibilities, To my knowledge, she is
not supposed fo be making any decisions concerning my job duties. Veronlea Guevara was only
assigned as my temporary supervisor on December 8, 2019, pending the outcome of other Issues
which are ourrently being addressed within our department and therefore, she has fimited knowledge
of this Issue and of my long standing Job responsiblittles. | belleve a change, of this magnitude,
which will change along standing internal office pollcy and remove of ane of my larger job
responsibilities rises to a higher. Therefore; as | mentioned In my first amall response to you, | will
await further Instruction from Gounty Manager, Mr. David Smith, to determine if he wants to remove
this Job duty from me and change the way we have been operating since | was hired in this
department,

| have copled other stakeholders on this. emall as a means to document a much larger issue.

Respectfully,

BC 600070

Nancy A, Sote
Adrninistrative Coordinator

my Me/fob dutles/ratallation

From: Curry, Dan Sagar

‘Sent: Monday, January 27, 2020 11:20 AM

To: Soto, Nan cy (Qguegieeueeaeeoaene ai

Subject: RE! 04-24-20- Resource Management Faclllty Needs

Nancy,
Who fs your Immediate supervisor, | will take up thls Issue with them.

Thank You,

Dan Curry AqA,AMP
Director
Bexar Caunly Facililles Management

From Soto, Nancy

Sent: Friday, January 24, 2020 5:37 PM

Tos Cutry, Dan

Cor Synith, David; Torralva, Jase; Ramirez, Hector
Subject: 01-24-20- Resource Management Facllity Needs
Importance: High

Dan,

Thank you for your emall. | understand your concerns, ft has been my jeb responsiblity since } started In this
department to oversee the day fo day operations of our departments housekeeping, custodial services,
repalrs, atc, and to be the direct contact for our offices, This Includes our office on the 9" floor of the Paul
Ellzondo Tower, the Human Resources Department, the Employee Cilnic, and alsa the County Gym. This was
designed to cut down on the number of people who are contacting your department to open wark orders and to
atrearniine the flow of work. To my knowledge this has not changed. | don't belleve this process has ever

oveated any Issues In the scheduling of any sérvices, in fact, it has out down on tha number of people directly
Involved,

The clinic is 4 unique area. As you know, we do not have access to thelr narcotics area, it has been a long
standing practice for Facilities to contact me prior to scheduling any services which would require “after hours"
work. | coordinate with UHS and Human Resources to get approval for Clinlc Staff to stay after thelr normal
scheduled hours and also fo have the overtime salary approved. | have also made it @ polnt fo malnfain a
close relationship with the County's Housekeeping Services so | can address our department's needs without
going directly through your department for every smali.issue. In the past, | was formerly Introduced to the

account managers which made this muoh easier, | was not given that same courtesy when this new company
was hired,

BC 000071

( (
1 took it upon myself to meet and Introduce myself to Mr. Guerra shortly after 4M took over the housekeeping

contract. -{ did a walk-through of the Employee Clinls area to explaln the specific needs of the clinic. | did this
In anticipation of the floors at the clinic being cleaned to ensure there would be rio confusion or delays.

My tntent is not to add an additional level of bureaucracy to your operation as | a fully aware of ihe need for
you and your team to be able to conduct your business without delay. | have always worked directly with your
staff to facilitate thelr schedules along with the needs of this department. | arn net aware of any time when
your staff has had fo walt or delay a job because of my availability. On the contrary, | nave pravided your staff
with ny personal call number to be able to reach me at any tine as to avoid any deiays.

Since Tina Smith-Dean Is no longer in my chain of command, | have sopled Mr. David Smith, Gounty
Manager, on this email. It wae David, through our Operations Manager Mr. John Diaz, who gave me this
responsibility when | started working for this department almost 16 years ago. Until today, It has

NEVER been a problem and | have not been made aware that anything has changed. | will awalt further
instruction from Mr. Smith to determine if he wants to remove this Job duty from me and change the way we
have been operailng since | was hired In this department, Until then, | would respectfully request that our
normal process be allowed to continue as | am not aware of any Issues which have presented 4 problem for
the Facilities Staff. | am happy to discuss anything { can do to make this process smoother if needed.

Thank you for your understanding
Raespacitully,

Naney A. Sate
Administrative Coordinator

et nelettnay sa tee

From: Curry, Dang bar
Sant: Friday, January 24, 2020 4:52 PM

To! Soto, Nancy Samira

Ce! Torralva, Jose Cane, Hector Geet
Gai

Subject: FW: Report

mith-Dean, Tina

Nancy,

| appreclate your desire to help coordinate day to day operations within several spaces in our bulldings. However; we
simply do not have the staff, time, or resources to add an additional level of bureaucracy te our operation, | cannot
have my staff rely on the schedule or avallability ofa single person to do thelr job. (am Instructing my team to contlnue
to coordinate schedules directly with the users In County hulldings for events like this; floor care, custodial services,
repairs, power shut downs, etc. My teant is rasponsible for maintenance and facllity Issues at AL‘. bulldings and spaces,
that is why we are here. As always if you need assistance you can call x52608 and submit a work order,

Thank you in advance for your understanding.

Thank You,

BC 000072

Dan Curry AlA,PMP
Director
Bexar County Faciliies Management

we

From: Soto, Nancy

Sant: Wednesday, January 22, 2020 9:15 AM
To: Garcla, Ponch

Cc: Ramtrez, Hector; Torralya, Jose
Subjecti RE: Report

Good Morning Ponch,

Since the Employee Clinic opened, It has been my job responsibility to oversee the facility and maintenance Issues for
the Clinic. | thought you and [ had discussed In the past but perhaps | am mistaken. | aiso bad a meeting with Mr, Guerra
over a week ago, As | was not formerly introduced to him when hls company orlginally took aver the custodial contract, |
thought it would be prudent to introduce myself and provide him with my contact Information, We also did a walk~
through of the Employee Clinic. | Introduced hit to the Clinlc staff and we discussed our expectations, | informed him
that | am responsible for the facllity maintenance issues for our Employee Clinic, As such, he would nead to coordinate
directly with me anythne tha clinic floors needed to be cleaned, it ls mandatory that staff personnel from UHS be
present at all times due to the narcotics which are stored in the clinic, In addition, | need to make sure we have approval
from UHS for staff to stay fate. In additional, the salary of that individual fs approved prior to scheduling anything after

hours. | also agfee that the ciinte floors are [n need of cleaning along with a faw other items | discussed with Mr.
Guerra.

Mr. Guerra went directly to the elintc staff and scheduled the cleaning of the floors. | only found out ahout it yesterday
at the end of the day, {did remind clinic staff that all requests such as these need to come toa me before these types of
decisions are made as It ls my job responsibility.

Today, Lam trying to confirm with UHS the approval of thelr staff to work after hours to facilitate the cleaning of the

flodrs and t will also make sure the overtime payment of the employee Is approved. As soon as [am able to confirm, |
will Hector.

| ant algo responsible for the maintenance and facility issues over In our Human Resources Department, Staff has been
Instructed to funnel all requests directly through me. | will reach out directly to Ana Bernal to determine axactly what
Issues Human Resources may be having In regards to the cleaning staff so i can address them also.

| would appreciate Rt if you would keep me in the loop on all faciilty/maintenance Issues related to the Resource
Management Department (9 Floor-PEY, Human Resources, & Employee Clinic),

Thank you for reaching out to me Panch and have a great day

Naney A. Soto
Administrative Goordinator

BC 000073

Fram: Garela, Ponch
‘Santi Wednesday, January 22, 2020 8:51 AM

To: Sota, Nancy (iggy
Co: Ramirez, Hector (gaps Torralva, Jose aaaa

Subjects FWi Report

Nancy,

Awalk-thru of the entire building was conducted with the 4M Contract Manager last Thursday, | took the opportunity to

‘introduce the Contract Manager to Ana Bernal, HR Manager. 4M will be working towards addressing the some of the
issues presented by Ana in regard to cleaning services and staff,

During the walk-thru - 4M noted that the floars required attention and | agree. The floors look horrible.

lL asked 4M to coordinate with the Maintenance Team to schedule the cleaning of the floors at the earllest opportunity,
Please fet me know-}f you have any questions.

Thank you

Ponch

Boldemor “Ponch” Garcia, MBA, FMP
Contract & Compliance Manager
Bexar County Facilities Management Department

;

CONFIDENTIALITY NOTICE: ‘This electronic transmission and any attachments constitute confidential Information which Is intended only fer the
named recfptent(s} and may be legally privileged, H you have recelved this communication th asror, please contact the sender below

immediately, Any disclosure, copying, distdbuttan or the taking of any action concerning the contents of this communication by anyarte other than
the named recipiant{s} fs stilctly prohibited,

ei Lea TE Pe tt ae me ee a

From: Ramirez, Hecto Qa
Sent: Tuesday, January 24, 2020 3:36 PM
To: Soto, Nat cyQieggiaeeaeeeeeaeeaaeas

Cc: Guilerrez, Carmen

Sublact: FW: Report

orf at tp eh yen ree pe pee ee nea he ea hee ta Rell ents tended berbenmemd Ranke wash tem manke RINAYL EG stones m mma mn oF

Nancy,
Making sure you were informed af this proposed schedule to strip and wax In the clinic:

Hector E Ramirez
Supervisor
Bexar County Faelllties Management

BC 000074

From: Garela, Ponch

Sent: Tuesday, January 21, 2020 2:26 PM

To; "Paul Guerra!

Ce: Ramirez; Hector; Gutlerrez,; Carmen; Garza, Alexandria
Subjectt RE: Raport

Please reach out to maintenance team so they ean Inform stakeholders.
Thank you

‘ Ponch

From! Paul Guerra Siena eae naiernae
Sant: Tuesday, January at, 2020 2:10 PM

Tor Garcla, Ponch

Subject: Report

Ponch,
Forgot to put the clinic, the floor is scheduled to be stripped and waxed this Friday 01/24/2020,
Have a Safe and Great Day!

Paul Guerra
Account Manager

fulldtag Solutions

cl cis?

BC 000075

EXHIBIT B

February 26, 2020
To: Nancy Sote
Subject: Notice of Investigative Administrative Leave

Effective February 26, 2020, you are being placed on. Investigative Administrative Leave with
pay for a perlod of up to thirty (30) business days pursuant fo Bexar County Human Resources
Policy 7.4.04 Administrative Leave and Bexar County Civil Service Commission Rules, Policy
7,6,11 Investigative Administrative Leaye.

During the period you are on Investigative Administrative Leave you afe required to call in each
morning at 8:30.a.m, to Veronica Guevara. Gage if she is unavailable please leave a
message. During this peflod you, must: be available for telephone communication between. the
hours of 8:00 a.m. through 5:00 p.m., Monday through Friday. In addition, you must be available
ia report, in person, to Administration if necessary to participate in the investigation or respond
to work inquiries. Being unresponsive. oy unavailable during your regulatly scheduled hours may
result in additional disciplinary action up to and including textiination, You are not permitted to
work a second job during your regular schedule while.you are on Investigative Leave pursuant to
Bexar County Civil Service Commission Rule 7.6.11, See, (e).

Be advised that until. further notice, accéss to all areas of the Bexar County Resource
Managément ‘Office is strictly prohibited, Access to the building for administrative purposes
moust be authorized in advance by contacting Veronica Guevara,

Sincerely, ,
MGI. 2. 26,2020
Veronica Guevara Date

Risk Management Coordinator

ce: Bexar County Civil Service Commission

Lacknowléidge receipt of this docmnent:

Lu Uf ieMle

2/20] a0

Date Received /

BC 000076

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EXUIBIT A:
EMPLOYEL’S DUTY TO PRESERVE INFORMATION

Under the Texas Public Information Act,-as a Bexar County employee, you are the custodian of
any records related to your work with Bexar County or any information that constitutes: the
transaction of official business, You have a legal duty to preserve that information, This includes
information contained in any personal electronic devices such as cell phones, tablets, or personal
computers, which are subject to the Act if those devices contain work-related information, This
duty to preserve covers communication such as texts, tweets, emails, notes, and pictures,

Through this notice you are directed to maintain all videos, photographs, and records oreated by
you at in your possession which constitutes the transaction of official business or In any way
velates to, your employmerit with Bexar County, DOCUMENTATION DESTRUCTION: IT J8
REQUESTED THAT ALL DOCUMENTS, VIDEOS, PHOTOGRAPHS, AND/OR. OTHER
DATA COMPLYATIONS WHICH MIGHT IMPACT THE SUBJECT MATTER OF THIS
INVESTIGATION BE PRESERVED AND THAT ANY ONGOING PROCESS OF
DOCUMENT DESTRUCTION INVOLVING 8UCH DOCUMENTATION CEASE, If any
document, image, or data required herein has previously been destroyed, you are.requested to
describe in detail the clroymstances of and reasons for such destruction and to produce all
docunients which relate to elther the clroumstances or the reasons for such destruction.

Sincerely,
GE! La 4, 2b BOb0
Veronica Guevara ‘ Date.

Risk Management Coordinator

Wadd) Q/ at (a9

Date Received

BC 000077

EXHIBIT C

June 22, 2020

lam retiring my position with Bexar County effective today,

ia A MCh ASE
(0 [22)20

CCK Malle

BC 000099

Laptop with the service tag CHOX752 was loaned to Nancy Soto and has
been returned to Bexar County along with the charging cable. She has
ho other county property. ID's and keys were already turned In.

é u f log ‘ t (24m fuen oft

& fe tof Oda/

Received by: (signature)

6-22-20

Date

BC 000100
BEXAR COUNTY

Rosources Managoment

z Manageniant & Finanoa

Monday, June 22, 2020

_ A, MeClure-Salo

» Bexar Counly Is in recalpt of the attached notice rallecling Monday, June 22, 2020 as your retirement.

“Your retirement Is accepted, and yill be recorded with Bexar Counly as a rellrement the close of business, Monday,
* June 22, 2020, }

in Service,

Veronica Guavara
Risk Management Coordinator

En Reilrament Nolice, delivered to Human Resources 9:04 am, 06/22/20

Accountability’ Respect | Integrity | Toamwork { Excollence

BC 000103

